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                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK

DAVID GANELES, Individually and on Behalf
of All Others Similarly Situated,
                                                       Case No. 1:19-cv-06231
                       Plaintiff,
                                                       NOTICE OF VOLUNTARY
       v.                                              DISMISSAL WITHOUT
                                                       PREJUDICE PURSUANT TO FED.
OAKTREE CAPITAL GROUP, LLC, JAY                        R. CIV. P. 41(a)
WINTROB, HOWARD MARKS, BRUCE
KARSH, JOHN FRANK, SHELDON STONE,
ROBERT DENHAM, STEVEN GILBERT,
LARRY KEELE, D. RICHARD MASSON,
WAYNE PIERSON, MARNA
WHITTINGTON, and DANIEL LEVIN,

                       Defendants.



                           NOTICE OF VOLUNTARY DISMISSAL

       Notice is hereby given pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil

Procedure that plaintiff David Ganeles (“Plaintiff”) voluntarily dismisses this action without

prejudice. Because this notice of dismissal is being filed with the Court before service by

Defendants of either an answer or a motion for summary judgment, Plaintiff’s dismissal of the

Action is effective upon the filing of this notice.



Dated: July 24, 2019                                  Respectfully submitted,

                                                      By: /s/ Joshua M. Lifshitz
                                                      Joshua M. Lifshitz
                                                      Email: jml@jlclasslaw.com
                                                      LIFSHITZ & MILLER LLP
                                                      821 Franklin Avenue, Suite 209
                                                      Garden City, New York 11530
                                                      Telephone: (516) 493-9780
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                                 Facsimile: (516) 280-7376

                                 Attorneys for Plaintiff




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